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          EXHIBIT                                1,
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    AO 91 (Rev,   1Illl)   Criminal Conrplaint


                                                                                                                          DiiTRici o;.Vrnllriltr
                                              Ulursn Srarss Drsrrucr                                  CoURT                          irlL   Io
                                                                           for the
                                                                 District of Vemront                                    2022 tf,tR   30     PH 2r   5l

                       United States of America                               )
                                       v.                                    )                    -.       '))
                                 Jerry Banks                                 )         CaseNo.t)
                                                                             )
                                                                             )
                                                                             )
                                                                             )
                                 Defendant(s)

                                                                                  t
                                                        CRIMINAL COMPLATNT
           I, the complainant in this case, state that the following is tlue to ihe best of my knowledge and belief.
  Onoraboutthedate(s)of                            January 6,2018
                                       -                                              in the county   of               Caledonia                 in the
                            Distlict   of           Vermont           ,   the defendant(s) violated:

              Code Section                                                               Offense Desaiption
  18 U.S.C. S 1201(aX1)                               The unlawful seizure, confinement, inveigling, decoying, l<idnapping,
                                                      abduclion, and carrying away, for reward and otherwise, GD, and in
                                                      committing and in furtherance of the commission of the offense, travelling in
                                                      interstate commerce and using a facility and instrumentality of interstate
                                                     GOmmerce.




         This criminal complaint is based on these facts:
 See attached Affidavit.




         d   Continued on the atlached sheet.




                                                                                               Patrick Hanna, SpecialAgent, FBI
                                                                                                           Printed nanrc and title

Swottr to before rne and sigued in my presence,


Date:             03130t2022



City and state:                             Rutland, Vermont                          Hon. Geoffrey W. Crawford, Chief US District Judge
                                                                                                           Prinled rwnte and title
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                                               AFFIDAVIT
            I, Patrick Hanna, being duly swo1n,   depose and say:

                                                lntroduction
            1'     I am a Special Agent with the Federal Bureau of Investigation (FBI) and cullently
   assigned to the Burlington Resident Agency in Velmont. I have been an FBI Special Agent for
    19 years. My dulies as an F'BI Special Agent include investigating violations of Titie iB of the
    United States Code as they peltain to corporate fraud, complex financial crirnes, embezzlement,
   public cortuption, money laundettng and related wliite-co1lar crimes, as well as vioient crjmes
   and climinal enterprises. I have palticipated in investigations of cdminal vioiations of various
   federal 1aws. I have executed search and auest walrants, interviewed and interrogated subjects,
  witnesses, and victims, and conducted surveillance. In the colrl'se of these investigations, I have
  gained an understanding of cu.rent technology, to include computers and online accounts,
  ceilulartelephones and associatedrecolds anddata,and have conducted analyses ofthe clata
  related to such accounts and devices, for the puryose of solving ancl proving crimes.

        2. I am submitting this Affidavit in support of a complaint alleging that Jeuy Banks
 kidnapped GD (the victim) on January G,z07B, in vioiation of 1B u.S.c. g 1201(aX1).

         3.      This case is being investigated by the FBI and the Vermorrt State Police (VSP).
 Since this affidavit is being submitted for the Iimited prupose of supporting a oomplaint, I have
 not included details of every aspect of the investigation. Except as olherwise noted, the
 infolmation oontained in this AtTidavit is based upon my personal knowledge and observations,
 my training and expelience, conversations with other law enfolcement officels and witnesses,
 and my leview of documents and records.

                                           Probablq Cause

        A.        The I(dnapping and Shooting

        4'      On January 7,2AlB, VSP responded to a homiciiie in Barnet, VT, The victim,
identifi.ed as GD, was found partially coveled by snow near the base of a snowbank on a pull off
area neal the west side of Peacham Road, The victim was found handcuffed and had been shot
multiple times in the head and toLso, GD resided at 884 Hawkins Road, Danville, VT at the time,
The victim's body was discoveled apploximately 15 rniles fi'om his lesidence, Evidence
gathered fi'om the crime scene included ,22 caliber cartridge casings,

       5'       VSP Dctectives responded to GD's home and intewiewed his wife, MD, and their'
12-year-olc1 son (minor child #1). Both wcre interviewed again later. MD told VSP Detectives
that at apploxirnately 9:00 p.m. or January 6,2018, she and het'husband wele in a first-floor
bedloom in theit Danville home. They heard someone knock on the door'. GD went to the door to
see who was there, GD came back to the bedroorn and told MD that a rna11 claiming to be a U.S.
Marshal came to the victim's home to arrest him. GD got his clothes on and Ieft with the man,
MD saw the man and described him as having handcuffs, a rifle, and wearing a jacket and mask
with an eye opening, both of which had a U,S, Marshals emblem. MD also leported that the rnan
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   said he had an artest wamant for GD for racketeedng and was bringing him to Vilginia, Minor
   ohild #1, who observed the man and his car fi'om a second-flool window, told police that the man
  drove a white four-door ca1'with red and blue emergency lights activated on the dash. GD left     in
  the man's car. The mar was wearing biack clothes and had a gun and a belt with valious law
  enfolcement tools on it. MD did not contact police,

           6.     On January 10,2018, Agent Jennie Emmons confimed with Supervisory Deputy
  U.S. Malshal Car'I Staiey of the Brirlington Velmont office of thc U.S. Marshals Service that GD
  was not auested by their agetrcy. Further, Deputy Marshal Staley said that there had beenno
  active federal wamants fol GD.

           B.         The 9i1 Phone

           7,     I   listened   to a911 call made
                                             around the time of the victim's kidnapping. The call
  took place approximately 15 minutes prior to the kidnapping and originated within a rnile of the
 victim's t'esidence. The VT 91i call center leceived a cali fi'om (802) 473-0535 (the 911 Phone)
 at B:42 p.m. on January 6,2078. The 91 i call center''s technology identified the cali as coming
 fi'orn a iocation on Noith Danville Road, Danville, VT, only a short distance fi'om the victim's
 residence. I believe that Banlcs used the 911 Phone to faciiitate the victim's kidnapping and
 murder.

         a.      Duling the call, a man stated that he shot his wife and was going to shoot himself,
 Tire callel gave an address of "7 7772 Cross Road" (with no town information) , afit which the
 caller lrung up. The call inforrnation was relayed to VSP in St. Johnsbury, Velmont. VSP
 attempted to locate a cross Road in the St. Jolmsbury alea without success.

         b. VSP thereafter lequested that AT&T provide location information for the phone
in question due to the exigent cil'cumstance, AT&T confirmed that the 9Il call came fiom the
North Danville Road location. AT&T also repofted that the phone was a prepaid phone with no
subscriber information available. After VSP checked the North Danville location and several
possible ooCross Roads" outside the town of St, Jolrnsbury, the matter was closed, At that time,
the victim's body had not been discover.ed.

        c. I later obtained seatch warrants fol various acoounts used by Banks, including his
Facebooh account, where Banks listed his usel name as Gfizz Sands. Among the data in the
Facebook account were video recordings, including a video in which Banks narmted a toru'of his
residence in Fort Garland, CO. Banks' voice sounds similar to the voice of the 911 calIer.

        8, AT&T lesponded to a search wauanl for infbrmation associated with the 91 1
Phone. The AT&T search warant data coirfirmed the location of the 911 call on Janualy 6,2018,
near the time and iocation of victim's kidnapping.

       9, The data provided by AT& f was reviewed by Special Agent James Wines of the
FBI's Celiular Analysis Survey Team. Aftel this review, and consultation with AT&T security
petsonnel, Agent Wines advised that the 911 Phone was a prepaid phone purchased at a Walmart
on Januaty 5, 20 1 8. f-he records showed only two calls made by the phone, a fouL-second call to
aPizza Hut in St. Johnsbury, VT al4:14 p,m, on January 6 and the 91 1 call at B:42 p,m. on
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    January  6. The phone used only two sectors of the same cell lower, located.irr St, Joiusbury,
   VT, for ali cell site activity. Agent W'ines also advised that this phone was activated,
                                                                                            meaning
   that it could operate on the A1'&T ttetwork, shortly before 4:00 p.m. on January
                                                                                       6, within
   minutes of thePizzaHut call. I have not been able to establish how tle phone
                                                                                     was activated.
          10'      Agent Wines advised me thathe learned fi'om contacts atWahnaftsecurity that
   the prepaid phone was putchased with $100 cash on January 5,2018,
                                                                             at 4:74p.m. at the Walmar1
  located at 100 Supercenter Dlivc, Clcafield, PA. Agent W'ines for.warded
                                                                                  me numel.ous seculify
  camera irnages of the individual purchasing the phone, which
                                                                     were obtained fi.om 17almart
  security. The irnages show a bearded, adult, white man purchasing the phone.
                                                                                     The man arrived
  and deparled in a white Ford Explorel. Ihe cametalbotage
                                                                  indicaies the vehicle pat.ked in the
  Walmartpalking 1ot around 3;55 p,m, and Ieft the iot alound 4:17 p.m. The Expior.er does not
  appeal'to have a fi'ont Iicense plate, The rear plate was Iight in color ancl appeaied
                                                                                         to be white.
  Numbet's and/or lefters were not rccognizable on the rearplate. The
                                                                       Explorer is generally
  consistent with minor child #1's desoription of the lridnapper,s ca,

         11. FBI personnel in Permsylvaniacanvassed gas stations ald other locations in the
 vicinity of the Walmart at 100 Supercentel Dlive, Clear.field, PA, to determine if additional
 security camela footage of the bearded, white male andlor the white Forcl Explorer
                                                                                    could be
 located. Additional video footage of the suspect and vehicle were located at gp gas
                                                                             a        station at
 14624 Clearfield Shawville Highway, Clear.fie1d, pA 16830.

        12.     I reviewed stills of this footage, which inclucled images of the bear.ded, white man
and the white l-ord Explorel', and they appeal to be the sarrre person and
                                                                           vehicle shown in the
Walmart securify video. The suspect purchased gas at the BP station. I saw what
                                                                                     appears to be a
smal'@hone in tJre suspect's hand, A time stamp on this video put the stop
                                                                             at the gas station at
4:27 p.m. on Januaty 5,2018. My review of the repofts of the agents
                                                                        who tr.avelled to Clearfield,
Pemsylvania shows that the display times fi'om the gas station secur.ity footage
                                                                                   appear 1o be pius
six or seven rninutes relative to the actual time.

        13.      I have leviewed Colorado dt'iver's license infonnation about Banl<s. On
 December 18,2017, a Colorado driver's license was issued to Jeuy Dean Robelt
                                                                                   Banks, Banks
 gave his mailing addt'ess as 1779 Pfotenhauer Road,
                                                        Fort Garland, CO, Based on the driver,s
 license photo of Bant<s (taken only til'ee weeks before the kidnapping),
                                                                          Banks resembles the man
depicted in the Walmart sulveillance images as the pulchaser ofihe 911 phone,
                                                                                  Below is the
license photo (on the right) and an edited image of the face of the
                                                                    91 1 Phone purchaser' (on the
left) for cornparison.
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         C,     The 201 Phone

         14.    Agent Wines also reviewed AT&T tower data obtained as a result of seat'ch
wan'ants issued by this court. Agent Wines received a list of cellulal devices connecting to a
tower coveling the alea of Clearfield, Pennsylvania, where the 911 Phone was put'chased, The
data included a list of devices comecting to the tower at or aboul the time the 91 1 Phone was
purchascd. Agent Wines compaled lhis data to data he received listing cellular devices
connecting to a towel covering the area of Danville, Vermont, where the abduction tooh place,
The data included devices connecting to the tower at ol about the time of GD's abduction. Only
one celiulal phone was corrmon to both sets of data, and it was a device with phone number
Q01) 208-1436 (tlie 201 Phone), Based on the information below, I believe that Banks used the
201 Phone to facilitate the victim's kidnapping and mulder.

        15.     Further investlgation by Agent Wines detelmiled that20l Phone is a:i Andloid
cell phone purchased at a Walmafl iocated at207 Southeast Salem Stleet, Oak Grove, Missouri
on Novembet 73,2A77, at apploximately 9:58 a.m. (CST), and additional service (minutes/data)
fol thal phone were purchased at a Walmalt located at2025 W. Business Flighway 60, Dexter,
Missouli on January 4,2018 at apploximatcly 9:2A a.m. (CST). Agent Wines obtained receipts
fol these pulchases, which show these pulchases, lihe the 911 Phone purchase in Pennsylvania
on Januaty 6,2018, were each made with $i00 cash, The details on the leceipts suggest flrat the
customet paid with a $100 bill for ali tfu'ee purchases: the 201 Phone, the extla minutes for the
201 Phone, and the 911 Phone.

         16. I obtained a sealch wauant for histolical cell site and location infolmation fol the
201 Phone, The 201 Phone did not nrahe orreceive any phone calls or texts during the relevaut
peliod. Its only interactions with the AT&T networlc involved data tlansmissions. The records do
not reveai the kind of data tlansmitted, Agent Wines and I have leviewed the information
obtained fi'om this warrant. Alalysis of the data shows the207 Phone assigned numbeL was
registered with the AT&T netwolk on Novemb er 14, 2017 . It flr'st intelacted with the netwotk
thlough cell tolers in the area of Monte Vista, Cololado for a bricf time on Deceniber 29,2077,
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   The phone next interacted with a cell tower inthe arcaof Dextet', Missouri on January 3,2078,
   and Janualy 4,2018, again lor shorl periocls, Thereafter, the phone intelacted with cell towers
   neat'toads following a path in a northern and eastern direction tlu'ough lilinois, Indiana, ancl
   Ohio. Analysis of the data shows the phone interacted with cell towers in the Columbus, Ohio,
   area for a time period bctwccn  T :30 p,m. I anuaty 4, 2O1 8 to LI :20 a,m, Janualy 5, 20 78. The
   phone thereafter continued to interact with cell towers neal roads tlu'ough Pennsylvania, New
    York, and Comecticut, Analysis of the data shows the phone interacted for a period of time with
    cell towers in the area Southington, Corurecticut, from 12:0A a.m. to 10:00 a.111. on January 6,
   2018, The dafa shows the phone then continued thlough Massachusefts and aruived in Velmont
   on January 6, 2018, at appraxim ately 1 l:37 a.m. The phone then tlaveled north, consistent with
   travel on Interstate 91, and allived in the area of St. Johnsbury, Ver.mont, at about 1 :3 0 p.m.
   Tlu'oughout the aflernoon and into the evening of January 6,2078,the data shows the phone was
  in the aleas of St. Johnsbury and Danville, Velnont. The phone remained in the general ar.ea in
  which the victim's kidnapping took place (at apploxim ately 9:00p.m.) and where his body was
  recoveled the next day. After approximately 9:24p.m,, the phone appears to have tlaveled south
 out of the Danville/St, Johnsbury area, consistent with travel on Interstate 9i, The last reported
 cell site or location data was at 10:01 p.m,, after which the phone had no more interaction with
 the AT&T networlc. Based on this infolmation, there is probable cause to believe that the 201
 Phone was used fol the pupose of the victim's hidnapping and mur.der.

         L7.    Further analysis of the data shows that durlng the travel 1o Vemont,the 20L
 Phone passed tlu'ough the area of Clearfield, Pennsylvania at the tirre the 91 1 Phone was
 purchased at the Walmart in Clearfield, pennsyJvania.

        i B. I have atternpted to obtain infolmation from Googie about the use of this phone
 by subpoena. The only information Google could provide showed that the 201 Phone connected
 to Google se1'vel's for the first time on Novemb er 74,2017, arrd for the last time on January 6,
 2018.

         19. I have reviewed t'ecords fi'om Verizon Wireiess that identify Jerry Bants as the
subscriber of the phone with number (719) 480-3579 (the 719 Phone) during the reievant
timefl'ame. Banl<s was the effeotive subsclibel from 10/20/2017 through 11/8/2018, Banhs iisted
(661) 433-5327 (the 661 Phone) as his home phone number and workphone number..

         20' I have also reviewed Verizon'Wireless Biiiing Statements, which show the
apploximate location of the 719 Phone when calls were made. I have confirmed wiflr Vetizon
'l7ireless
           personal that this location infolmation is associated with the cell towers and switch
connecting to the phone at the tirne of calls, I also lenned that Verizon Wileless maintained
mote pt'ecise iocation infolrnation lollhis phone for only approximateiy one yeal, That data was
gone by the time I obtained the search wartalt. I forurd the following locations of note for this
phole in the Biiling Statements:
         a. On 10/2612017, a call fi.om this phone originated in Denver, CO.
         b. On 12/73/20L7, a call fl.om this phone originated in Dexter, MO.
         c. on 12/28/2017 a call fi'om this phone origi,ated in Alamosa, co.
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               d.   On 12129/2077, anothcr call from this phone originaled in Alamosa, CO, which is
   close to Monte Vista, CO. As noted above, the 20l Phone first interacted with cel1 towet's in the
   area of Monte Visla, CO on 12129/2017.
           e. Onl/2/2018 and ll3/2018, calIs fi'om this pirone originated in Dexter; MO. As
  noted above , lhe 207 Phone interacted with celi towers in Dexter, MO on 113/2018   ^


           f.      No calls are made belween 12:59 p,m. on 1/3/2018 and 1/712018, when thc201
  Phone was actively being used,
           g, Onl/7l2AlB, at apploximately 9:24 p.m,, a call flom this phone originated in
  O'Fallon, MO, which is aiong I-70 in Missouli, 'fhe tirne befween the last use of the 201 Phone
  arid this call on the 719 Phone is approxirn ately 25 hours. Google Maps shows that dliving time
 fi'om Barnet, VT to O'Falion, MO is approximately 19 hours.
           h. On 1/812A18, a call fi'om this phone originated in A1ma, I(S. This call takes place
 apploximately 15 minutes after the I(ansas Highway Pairol car stop of Banlcs in Aima, KS,
 described below, The call connects with (573) 421-4198 for approxim ately 20 minutes,
          i,       On 1/912018, multipie calls ale inade from this phone, all oliginating in Cololado
 (Alamosa, Sanford and Colorado Sprlngs),

         21. Banks' use of the 719 Phone connected to his Google account, described below, is
 consistent with him buying and using the 201 Phone.

        22.    I have reviewed Google lecords lbr the email address banlrsavs@gmail.com.
Jerry Banks is the subscriber of the email account. He uses bankspes@gmail.com fol his
recovery email, The account was created on615/2009. SMS (texts) are sonnected to the 719
Phone. The subscribel services listed are Android, Gmaii, Google Calendar, Google Cluome
Sync, Google Cioud Prinl, Google Drive, Google Hangouts, Google I(eep, Google My Maps,
Google Payments, Google Photos, Google Play, Google Play Music, Google Selices, Googlc
Voice, Has Madison Account, Location Flistory, Web & App Activity, YouTube, and iGoogle.

        23.    I obtained a seatch wauant for infolmatiot from the banksavs@gmail.com
account.   I
           and other investigators wolking with me have reviewed the infolmation. We have
identified a numbel of pieces of information in the Google data that further support the
conclusion that Banks was tespoltsible for GD's kidnapping and murdeL, including the
foliowing:
       a,      \i/ithin the Google maps data there are a numbel of pieces of jnfounation
inoiuding seatches fol Vermont on October 70,2017, December 72,2017, and Janualy 4,2018.

        b. Within the Google search history data are a nurnber of pieces of infomration
inclnding searches for': Expiorer Police Intei'ceptors for sale on Ociober 26,2017; Ford Explorel
Police lnterceptor rims as well as steel wheels and a police spotlight on October 29,2A17; ARC-
22.22 LRConversionIftts onDecember 77,20l7;andbodyat'lnol'onDecember'26,2017. As
noted above, ,22 caliber anrmunition was used to kill GD.
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             c'    Within the Google location information are thousauds of GPS coordinates
    including coordinates connecting the Google user to the 201Phone, As noted above, Lhe 201
    P1rone was pulchased in oak Grove, Mo at 9;5 B a,m. (csr) on Novemb er 13 2017 . on
                                                                                   ,
   November 13,2017 at fi:A9 a.m., when the location infomration was tunecl on, it shows the
   uset'50 miles east of Oak Gtove, MO on Interstate 70, travelling easl. Interstate 70 also travcls
   thlough Oak Grove, MO. This infounation suggests to me that the Google usel was in Oak
   Grove at the time the 201 Phone was purchased. The location infolrnation also shows that the
   Google account user travelled fi'om Folt Garland, CO to DexteL, MO on Januaty 2,2078, and
  stayed there until Januaty 4,2078. I have reviewed lecords fi'om the Ilexter Imi, which show that
  Banl<s was staying at the motel on the nights of January 2 and3,20tB, Further, the location
  iriformation shows that the Googlc usel was inside the Dexter, MO Walmar t at 9:20 a.ru. on
  Januat'y 4,2A78, the same time the extla minutes wele purchased for the 201 Phone.


          d, Though there are hundreds of pieces of location information on most days, there
  is no locatioa information for certain relevant periods of tirne including: i) between 9:51 a.m.
  (csT) on January 4,2018, a;nd9:22p.m. (csr) on January 7,z0r1;2) between 3:53 p.m, (csr)
  onNovember71,2077 and 1i:09 a.m. (csT) onNovemberl3,20l7;atd3)2:37p.m. (cST) on
  November 13,2017 arud9:17 p,m, (CST)onNovember20,2017, Whenlhelocationinformation
  was tulned on after 9:22 p.m, (CST) on January 7 , 2078, the Google lrser was travelling west on
  Rorite 70 in eastern Missouli, The location infounation shows that the Google user spent the
 night of January 7 near a Route 70 exit in Missourt, before travelling towards Fort Garland on
  January B. This data shows that except for a few horus on November 13,2077,Banks was not
 using his 719 Phone while travelling to Venaont both in November' 2017 for a reooffraissanoe
 trip and in January 2018 for thc kidnapping/murder trip.

         24.       The Googie data also confilms that Bants used the Grizz Sands Facebook
 account.

        D.         Thg Ford Exploler

         25 '   I consulted with Matthew Fyie, Manager, Design Analysis Engineering, at Ford
 Motor Company, to detelmine the model and year range of the Ford Explorer observed in
 photographs and video obtained fl'om Clearfield, Pennsylvania. Fyie told me that the Clear'fie1d
 Expiorer was a 201 3 to 2015 Police Interceptor model. He noted that the Clearfield Explorer was
pictured with Ford Explorer XLT wheels, whicli were not an option for the 2013 to 2015 Police
Intetceptor models, Fyie provided photographs of the tlu'ee wheel styles offeled for those Police
Iuterceptors, each of u,hich is diflbrent f}om the XLT wheel. Fyie suggested the XLT wheels
were installed on the vehicle at alater time ol as an after-rnarhet change. F-ord later provided
information, including VIN numbers, for the 7l,2gl White Exploler Police Inceptors fol model
yea:'s 2013 to 2015 nran-ufactuLed and sold by Fold.


       26,      The Verrnont Intelligenoe Center'(VIC) conducted searches to identi$ and find
vehicles of interest based on certain parametels/criteria (vehicles registered in states of interest,
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   in this case Colorado, vehicles sold at auction with high rnileage, and vehicles with sales or'
   service records that occuled around the time of the lcidnapping and homicide,)

          21.     Leads were generated to locate the veliicles of interest and identift the owners at
  the time of the kidirapping/homicide. One lead was sent to Colorado Bureau of Investigation
  (CBI) Agent Joseph Cahill, who was then assigned to an FBI Task Folce, This particulw* lead,
  based on the additional r'esearch and idenlifiers plovided by the Vermont Intelligence Centel
  CWC), was specific to a2013 Ford Explorer with VIN iFM5KBAR6DGC73609. CARFAX
  records indicated that on October 6,2A17, a2Afi white Ford Explorer fi'om Highline
 Automotive Inc., VIN 1FM5KBAR6DGC73609, was offered for sale. Mileage on the Exploler at
 the tirne was 1I7,138, On December 22,2017, the Ford ExpJorel' was serviced at Dowrey Car
 Center, Dowtey, California per CAMAX records. Mileage on the Ford Explorer atthc time was
  730,404. CARFAX records indicate the mileage on the vehicle was 137,768 on March 16,2078,
 the next time the vehicie was offered for sale by Maximum Auto Search.


         28.      Agent Cahill and CBI Agent I(evin Koback conducted interviews in connection
  with the Ford Explorer and the dealership, Highline Automotive, which was located in Denver',
  Colorado. (Highiine has since gone out of business.) Agent Cahill provided me verbal and
 un'itten reports of the interviews. Those reports show that Banks was using the Explorer at the
 time of the kidnapping, Steve Iskhakov, who ran Highline, provided CBI Agents with
 documents, including the Highline Autornotive sales jaclcet for the Explorer, which show that
 Banl<s had possession of the Explorer at the time of the kidnapping. Iskhalrov said he never had
 anyone dlive so niany miles on a car in the short period of time Banks had the Exploler.

        29.      Agent Cahill and I interyiewed Carmine Gulii, the salesrnan and finance maflager
 who dealt initially with Banks, on separate occasions, Gulli told me that Ban-ks picked up the
 Expiorer on October 26,2017, with an agreement to pulchase it with financing. Banks made a
 dou,n payment of $3,000 in cash. Guili was not able to obtain finanoing fol Banks fi'om the first
finance company that he h'ied. Guiii then tried to finance the Expiorer tlu'ough a second finance
company in mid-November, He did not meet with Banks in person at that point but dealt with
him by phone and email. Gulli was not able to get fina.ucing aranged tlu'ough th.e second
finance company either. He then had to alrange for Banks to return the vehicle. Bani<s told Gulli
that he "lived off the grid" neat the New Mexico bolder. According to Gulli, Banhs had no real
credit scoi'e. Gu1li desclibed Banks as "a ghost." Gulli looked at the Wahnalt security carrrera
photographs and stated he felt it appeared to depict th.e same petsoll as the Exploret'buyer but
with more facial hair.

       30, Mark Wilcox was also furterviewed by Agent Caldll, Wilcox is the Chief of
Mountain States Emergency Medical Services in Denver, Colorado. He is the cument owner of
the Ford Explorer. Wilcox pulchased it on Aplil 77,2078, fi'om Maximum Auto Sealch in
Englewood, Colot'ado. Wilcox recalled the person he dealt with at Maximurn told him that the
Exploler was being sold on consignment for Highiine Automotive due to apending bar:louptcy.
The XLT wheels can be seen in a photoglaph taken duling the time of the intelview.
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              31,I aiso spolce with     Wilcox, Wilcox confirmed that the same XLT wheels we1,e on
   the Explorer when hepurchased        it fi'om Maximum Auto Search, Wlcox also told me the
   Explorer did not have a spotlight aftached on the driver"s sjde when he bought it, Tiie Clearfield
   photos, while not clear', do appeal'to show a spotlight on the drivel's side. Thjs light, as
   descdbed below, appeal's to have been attached while Banks had the Explorer.and removecl
   before Banlcs returned it to Highline Automotive,

        32. I have t'eviewed the Highiine Auto sales inforrnation. I found the following
  infomation regarding t1re saie/purchase of the Explorer:
        a. purchaser: Jeliy Bariks, ilicluding his date of birth and social security number,
          b.        address: 1 1 79 Pfotenhauer Road, l.-ort Garland, CO   B113   3;
         c,         phone number; (71.9) 480-3879;
         d.         emailaddress;banksavs@gmail.com;
          ,
          e         additional phone number: (715) 298-2329;
         f,         registration infolmation: piate 8A94536 for the 2013 vrhiteFold Explorer;
         g.         Progressive Insurance, policy number 917735127, effective t0/26/2017 to
                    4/26/2A18, for the Ford Explorer;
         h.         purchase date: 1 1/16/2017 with mileage reading of 71T,l3B;
         i'         suuender date: 7124/2018,documents indicate "miles and usepaid for" and"loan
                    is being wtitten off, no harm to bouowet'." A receipt for the additional "miles and
                    use" indicates Ban-ks paid $1,500 in cash when he surendered the vehicle;
        j'          Banks "surrendet'ed" the Ford Explorer to Highline Automotive Inc.

        33. I also reviewed records provided by Progressive Insulance involving Banks'
 purchase of the 2013 Ford Explorer. The insured is listed as Jeny Banks with phone numbers
(661) 433-5327 and (719) 450-3879 and an email addless of banksavs
                                                                       @gmail.corn. The plimary
use of the vehicle is designated 'oPieasure." This vehicle was added to the policy on 1012612017.
This vehicle was temoved fi.om the policy on 1125/2}lg.

        34,        I have also leviewed Cololado vehicle registralion information about the
 Highline Explorer. Those tecords sholv that Banks got a temporary registration for the Explor.er
 ftt'st on 10/26117, consistent with the Progressive Insurance Records, The Color.ado registration
 recoLds fluther show that Banks got a second tcmpotary registlation fol the Explorer on
 11/16/17, the purchase date in the Hightine Auto records, The temporaly tag issued on 17/16117
was 8094536. Agent Cahill, who is familiar with Colorado tempolary registration tags, told me
that those tags are white in color and rnade of paper, Colorado only issues a temporary tag for
tlre real of car not a second fol the fi'ont. This kind of temp oruty tagis consistent with the images
fi'orn the clearfield Explorer, which had a light colored real.tag and no fi.ont tag,

       E,       The 661 Phone

       35'    I reviewed Verizon Wileless records obtained fol the phone using number (66i)
433-5327 (the 66i Phone) during tlie relevant period. The subscriber is All Valley Solar. (AVS).
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  The rnailirrg address for the billing statement is All Valley Solar (AVS), 1.2623 Sheman'Way
  Ste. A, N. Flollywood, CA 91605. As noted above, Plogressive t'ecords showthat Banhs
                                                                        'Wireless
  providcd this phone number as his work phone number, and Verizo:r            records for the
  779 Phone show Banlcs provided this number as his home and wolk phone. The investigation
  has revealed information ihat Banks worked fbr A11 Val1ey Solal before 2017.


           36,  The 661 Phone recolds also show approxinrate location information for flre calls,
  On the momiug of 17/78/2077,thlee calls were made fi'om this phone all originating fi'om
  Barnet Verriont. As noted above, the 719 Phone records show no phone activis between
  11110/17 and 1L/20/17, while Banks appears to have travelled to Vermont for a reconnaissance
 trip.

          F,       Kansas   Ifighwav Patlol Stop
          37 .    Based on leviews of law enforcement contact with Banks, I discovercd that on
   1/Bl201B at approximately 7:48 p.m. CST, a traffic stop was conducted by Kansas Highway
  Patrol Technical Trooper C1ark in the vicinity of mile post337 on I-70 Weslbound in Alma, I(S.
  I have t'eviewed reports about the stop. Jery Banks was opelating the white Fold Explorer.
 Banks was stopped for a lane violation. I spoke with Techrdcal Troopel Clar'h and reviewed a
 DVD recording of the trafftc stop he provided, Trooper Clark desclibed Banks as extremely
 nelvous, The vehicle contained multiple law enforcement items including a gun, tactical vest and
 law enforcement equipment. Trooper Clark noted the back seat of the Ford Explorer was folded
 down and a rlattress was observed in the rniddle to back alea of the Explorer'.

        38. On3/312020, I reviewed a DVD copy of the traffic stop conducted by Techaical
Trooper Clalk on 118/2018. Jeuy Banks falsely said that he was traveling from Dexter, MO.
During the traffic stop, a phone can be heard ringing inside the Ford Explorer. The phone
ringtone is consistent with a Samsung Galaxy phone standard ringtone.

          39.     I compared the video of Banks fl'orn the   stop to the photos/video from the
                                                             ca1'
Clealfield, PA Walmart purchasing the 9i 1 Phone a1ld BP gas station, described above, Banks
looks similar to the person in the Clear'fleld images, The Google location infounation shows that
Banks dt'ove from Forl Garland, CO to Dexter, MO on January 2 drivittg a toute furthet'south
than Route 70 tlu'ough I(ansas. If he had been driving dilectly home fiom Dextel on January B he
would likely liave used that mote southerly i'oute rathel thal Route 70, which is the most dilect
route to CO fi'om the Noltheast.

         G.       Bad<s'Finances

          40.  We have atternpted to figure out Banks' financial situation to help prove that he
leceived money in conneotion with the murder, beoanse I have fbund no evidence of any
personal oonnection between Banks and the victim. The Highline Auto records show that Banks
worked fol the Costilla County Sheriff dudng the fall of 2017 .I have learned from seat'ch
wauant materials that Banks was attending Conmunity College ft1lI time cluring the first several

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   rnonths of 2018. The Highline records include a copy of apay stub frorn Costiila Couuty
  plovided in conaection with his allempted {inancing of the Explorer'. Banks was eaming $640 a
  week gross and less than $500 a weeh nel. I have rcviewed records fi'om Green Dot, abusiness
  that allows users to deposit money onto a debit cald. In addition to the $4,500 in cash paid fol
  tlre Dxplorer', Banks put $2,600 in cash on his Green Dot card in November and December 201.7,
  and $12,500 in cash on his Grecn Dot card during the first half of 2018.


          41, Banks' Facebook account includes statements Banks made on Faceboole
 Messcnger, He has several convelsations with Stephanie Giarnbla. with whorn Banks appears to
 be cIose, Banl<s apparently wod<ed with Giambla at A11 Va1ley Soiar, used an AVS credit card in
 the past, and owed her money. In October 2017,he wlote hcl that he had a side job and a "bunch
 of rnoney for het," On December 8, he ashed Giambra what he owed hel and reported doing well
 financiaily aud wanting to take care of hel while he could, I believe that Banhs, who had not
 pelsonal corineclion with Banks, was paid to hidnap and murdel GD.

           I{,      Bani<s' Purchases

           42, V/ithin the Google email data are emails with information reiated to purchases
includinglhefollowing: i)OnNovembel3,20lT,anorderconfir'mationemailtoJerryBanks
desclibing the pulchase from Amazon of a public safety scanney2) on November 8,2017 a
shipping confimation email to Jeuy Banks fol a blue/red flashing modes; and 3) on December
20,2077, an email containing aPaypal purchase confimation to "Jenu Banks" for pulchases of
an Antique Goid Marshal Badge, a US Marshal Slioulder Patch and a US Malshal embroidety
patch.

         43. I have leviewed records fi'om Amazon that refleot Banks has been a customet'
since July 31,2013 and has used the email addless banhsavs@gmail.com, I have reviewed the
oi'der history which shows the following purchases. On November 4,2077, he pulchased a
handheld scaru1e1' and police-style car antenna, On Decemb er 4,2077 , he purchased a Police
Intelcepior nameplate for the Ford Explorer, On Decernber 70,2077, he purchased a police
spotlight that could be attached to the Explorel. On December 26,2077, he put'chased two sets of
handcuffs and a set of autornotive parts that can be used to assemble a silencer'. On December 27,
2017,he prrchased dashboard red and blue emergency lights.

           44.I have reviewed PayPal recolds for Jeuu Banks that reflect that the account was
opened on Decernber 20,2077, and the email address provided was banksavs@grnail,com. The
recolds show purchases on December 20,2077, of a Marshal's badge and various Maishal's
patches.

       45. I have leviewed records plovided by Spartan Amol Systems which reflect.Ierry
Banks pulchasing two body armor jaclcets on December 20,2017.




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                                                Conclusion

         46. For the leasons described above, there exists plobable cause to believe that Jeny
Ban-ks  unlawfully seized, confined, inveigled, decoyed, kidnapped, abducted, and carried away
fot'reward and othelwise GD, when Banks tlavelied in intelstate commelce and used afacility ot
instt'umentality of interstate oornmerce in conrmitting and in fui'thelance of the cornrnission of
the offense, in violation of 1B U,S.C, g 1201(a)(1).


         Dated at Rutland,   h   the District of Vermont, this   3O    day of March,2022,


                                       {,sc:nr 4o        iy      2"-W,6le 4,u-l*,,          t'L rYta}4l(
                                                 Special Ageni - FBI
                                                                                                * r'c-
         Sworn to ancl subscribecl befole   *"tnir7-Q-day        of March ,2022.




                                                 Honorable Geoffi'ey W, Crawford
                                                 Chief United States Distlict Judge




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